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Related Cases

      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. SANDOZ INC., and SANDOZ INTERNATIONAL
          GmbH, C.A. No. 1:14-cv-03547-RMB-KMW (“AstraZeneca v. Sandoz”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. SAGENT PHARMACEUTICALS, INC., C.A. No.
          1:14-cv-05539-RMB-KMW (“AstraZeneca v. Sagent”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. GLENMARK PHARMACEUTICALS INC., USA,
          C.A. No. 1:15-cv-00615-RMB-KMW (“AstraZeneca v. Glenmark”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. AGILA SPECIALTIES, INC. F/K/A STRIDES
          INC., ONCO THERAPIES LIMITED, MYLAN PHARMACEUTICALS INC.,
          MYLAN LABORATORIES LIMITED, and MYLAN INC., C.A. No. 1:15-cv-
          06039-RMB-KMW (“AstraZeneca v. Agila”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. MYLAN PHARMACEUTICALS INC., MYLAN
          LABORATORIES LIMITED, and MYLAN INC., C.A. No. 1:15-cv-07009-
          RMB-KMW (“AstraZeneca v. Mylan”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. TEVA PHARMACEUTICALS USA, INC., C.A. No.
          1:15-cv-07889-RMB-KMW (“AstraZeneca v. Teva Second Wave”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. INNOPHARMA, INC., C.A. No. 1:16-cv-00894-
          RMB-KMW (“AstraZeneca v. InnoPharma Inc.”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. INNOPHARMA LICENSING LLC, C.A. No.
          1:16-cv-01962-RMB-KMW (“AstraZeneca v. InnoPharma Licensing”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. MYLAN INSTITUTIONAL LLC, C.A. No. 1:16-
          cv-04612-RMB-KMW (“AstraZeneca v. Mylan Institutional”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. DR. REDDY’S LABORATORIES, INC. and DR.
          REDDY’S LABORATORIES, LTD., C.A. No. 1:17-cv-00926-RMB-KMW
          (“AstraZeneca v. Dr. Reddy’s”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. AMNEAL PHARMACEUTICALS LLC, C.A. No.
          1:17-cv-01968-RMB-KMW (“AstraZeneca v. Amneal”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. HBT LABS, INC., C.A. No. 1:17-cv-02652-RMB-
          KMW (“AstraZeneca v. HBT”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. TEVA PHARMACEUTICALS USA, INC., C.A. No.
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          1:17-cv-02448-RMB-KMW (“AstraZeneca v. Teva”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. FRESENIUS KABI USA, LLC, C.A. No. 1:17-cv-
          13075-RMB-KMW (“AstraZeneca v. Fresenius”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. APOTEX INC. and APOTEX CORP., C.A. No.
          1:18-cv-11238-RMB-KMW (“AstraZeneca v. Apotex”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. ACCORD HEALTHCARE, INC., C.A. No. 1:18-
          cv-12051-RMB-KMW (“AstraZeneca v. Accord”)
      •   ASTRAZENECA PHARMACEUTICALS LP, ASTRAZENECA UK LIMITED,
          and ASTRAZENECA AB v. CHIA TAI TIANQING PHARMACEUTICAL
          GROUP CO., LTD., ATHENEX, INC., and THE WHITEOAK GROUP, LLC,
          C.A. No. 1:18-cv-17194-RMB-KMW (“AstraZeneca v. CTTQ”)
